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                            UNITED STATES COURT OF APPEALS
                                 FOR THE SIXTH CIRCUIT
                                  100 EAST FIFTH STREET, ROOM 540
   Deborah S. Hunt               POTTER STEWART U.S. COURTHOUSE                   Tel. (513) 564-7000
       Clerk                         CINCINNATI, OHIO 45202-3988                 www.ca6.uscourts.gov


                                                   Filed: November 15, 2022


Mr. John Koe
P.O. Box 527
Novelty, OH 44072-0527

                     Re: Case No. 22-3952, John Koe v. University Hospitals Health Systems, Inc., et al
                         Originating Case No. 1:22-cv-01455

Dear Mr. Koe,

   This appeal has been docketed as case number 22-3952 with the caption that is enclosed on a
separate page. Please review the caption for accuracy and notify the Clerk's office if any
corrections should be made. The appellate case number and caption must appear on all filings
submitted to the Court.

   As the appellant, when you submit motions, briefs or any other documents to the Clerk's
office, send only 1 original, which you have signed. Copies are no longer necessary. Do not
staple, paper clip, tab or bind pro se motions or briefs sent to the Clerk's office -- these
documents are scanned and staples etc. create paper jams. You must mail opposing counsel
a copy of every document you send to the Clerk's office for filing.

   Opposing counsel will docket pleadings as an ECF filer. Check the ECF page on the court's
web site www.ca6.uscourts.gov for additional information about ECF filing if you are not
familiar with it. The following forms are due by November 29, 2022.

                                   Appearance of Counsel
                     Appellee:     Disclosure of Corporate Affiliation
                                   Application for Admission to 6th Circuit Bar (if applicable)

    The district court has denied or revoked your pauper status. You have until December 15,
2022 to either pay the full $505.00 appeal filing fee to the U.S. District Court, or to file a motion
in the Sixth Circuit Court of Appeals to waive the filing fee, with a financial affidavit and a copy
of your prison trust account statement for the last six months (if applicable). Failure to do one
or the other will result in the dismissal of the appeal without further notice.
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   The Clerk's office cannot give you legal advice but if you have questions about the forms,
please contact the office for assistance.

                                                Sincerely yours,

                                                s/Virginia Lee Padgett
                                                Case Manager
                                                Direct Dial No. 513-564-7032

cc: Mr. David A. Campbell III
    Mr. Donald Gabriel Slezak

Enclosure
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              OFFICIAL COURT OF APPEALS CAPTION FOR 22-3952




JOHN KOE

           Plaintiff - Appellant

v.

UNIVERSITY HOSPITALS HEALTH SYSTEMS, INC.; UNIVERSITY HOSPITALS
CLEVELAND MEDICAL CENTER

           Defendants - Appellees
